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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                            )
                                                     )
                        Plaintiff,                   )                     8:02CR238
                                                     )
        vs.                                          )                 REPORT AND
                                                     )               RECOMMENDATION
DONALD H. ASAY,                                      )
TERRY J. SAMOWITZ,                                   )
GREGORY W. ENGER and                                 )
DONALD A. HEIDEN,                                    )
                                                     )
                        Defendants.                  )
        This matter is before the court on the defendants’ motion to dismiss (Filing No. 255)
and motion to strike (Filing No. 261). In the motion to dismiss, the defendants contend the
Superseding Indictment (Filing No. 240) should be dismissed for because it fails to satisfy
the materiality and intent requirements of the mail and wire fraud statutes. The defendants
filed a brief (Filing No. 256), an index of evidence (Filing No. 270) and a reply brief (Filing
No. 286) in support of their motion. The government filed a brief (Filing No. 281) in
opposition to the motion to dismiss. In the motion to strike, the defendants seek to strike
the “further factual findings” contained in the Superseding Indictment. The defendants
filed a brief (Filing No. 262) in support of their motion. The government filed a brief (Filing
No. 280) in opposition to the motion to strike.                The undersigned magistrate judge
recommends that both motions be denied.
        The court heard evidence and additional argument related to the motion on March
1-2, 2005. The transcript (TR.) of the hearing was filed on March 10, 2005. See Filing No.
301.1 During the hearing Special Agent Laura J. Stewart (Special Agent Stewart) and
Professor Joseph P. Bauer (Professor Bauer) testified. The court received into evidence
Exhibits 1-18 from the government and Exhibits 100-119 from the defendants. See Filing
No. 293.



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           The transcript was originally filed on March 10, 2005, as Filing No. 295, however corrected
transcripts were filed on June 10, 2005, as Filing No. 298, and June 18, 2005, as Filing No. 301. The court
will refer to the latest filed transcript in this order.
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                                     BACKGROUND
       The defendants are charged in an eighteen-count indictment with mail fraud in
violation of 18 U.S.C. §§ 1341 and 2 (Counts 1-15); wire fraud in violation of 18 U.S.C. §§
1343 and 2 (Count 16); conspiracy to launder money in violation of 18 U.S.C. §§ 1956(h)
and 2 (Count 17); and criminal forfeiture under 18 U.S.C. § 982 (Count 18). See Filing No.
240. The charges are based upon allegations the defendants fraudulently represented
they were buying for closed-door pharmacies, to purchase pharmaceuticals at a
discounted rate, with the intent to illegally divert pharmaceuticals to a wholesale market
for higher profit.     A closed-door pharmacy is one which typically purchases
pharmaceuticals at a discounted rate, below wholesale rates, and dispenses to institutional
clients such as hospital, prison or nursing home patients, rather than to retail locations.
See id. ¶¶ 3-4. The closed-door pharmacies only receive the discounted rate if they
certify, with an “own-use” certification, that the pharmaceuticals are purchased for its own-
use or will be dispensed only to patients in its institutional locations. See id. ¶ 4. The
closed-door pharmacies often join buying groups whose business it is to negotiate contract
prices with the pharmaceutical manufacturers. See id. ¶ 5.


                                        ANALYSIS
A.     Motion to Dismiss
       The defendants contend the superceding indictment should be dismissed because
the mail and wire fraud counts are impermissibly based on the breach of ambiguous
contract terms. Further, the defendants contend that because the contract terms are
ambiguous the Rule of Lenity should be applied preventing criminal charges and that the
government cannot satisfy the materiality and intent requirements of the mail and wire
fraud statutes (18 U.S.C. §§ 1341 and 1343). Specifically, the defendants rely on the “own
use” certification language contained in the COHR Inc./Purchase Connection Participation
Agreement for closed door pharmacies. Purchase Connection Agreement provides:
“Whereby the Participating Member desires to enter into this Agreement for the purpose
of participating in COHR-Inc. negotiate group purchasing agreements involving the


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purchase of health care supplies and equipment solely for its “own use.” See Exhibit 113,
p. 1. The agreement further states:
             The Participating Member expressly and unequivocally
             understands and agrees the each and every purchase made
             through any COHR-Inc. negotiated group purchasing
             agreements for health care supplies and equipment are for
             that Participating Members’ ultimate consumption or “own
             use.” “Own use” being defined by any of the following:
                    A)     Those relevant sections of the
                           Prescription Drug Marketing Act of 1987
                           and any amendments thereto, and/or
                    B)     Those relevant sections of the
                           Robinson-Patman Act of 1932 and any
                           amendments thereto, and/or
                    C)     The Supreme Court’s decision in Abbott
                           Laboratories et al. v. Portland Retail
                           Druggist Association, Inc., Etc. (1976)
                           425 U.S. 1.
             THIS AGREEMENT SHOULD NOT BE ENTERED INTO IF
             THE PARTICIPATING MEMBER IS NOT ABSOLUTELY
             CLEAR AS TO WHAT IS MEANT BY “OWN USE” AS IT
             RELATES TO PRODUCT PURCHASED PURSUANT TO
             THIS AGREEMENT.
See Purchase Connection Participation Agreement, Exhibit 113, p. 3 (Landmark Pharmacy
unsigned, first page dated July 28, 1997); and Exhibit 119 (Ovation Pharmacy signed
March 5, 1997).
      The defendants argue the definitions of “own use” provided in the Purchase
Connection agreement are inapplicable to the transactions identified in the indictment
because none of the three possible definitions apply to for-profit pharmacies. Professor
Bauer’s testimony by report and during the hearing focuses on how the three definitions
cannot apply to the defendants’ pharmacies.       Additionally, the defendants contend
Purchase Connection knew the defendants had for-profit pharmacies and therefore did not
expect the defendants’ pharmacies to comply with the “own use” portion of the agreement.
      The defendants, however, do not address the similar “own use” certification
addressed to “Dear Vendor.” Exhibit 113, p. 8. Or the other evidence presented by the
government showing additional certifications based upon different certification language.


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For example, on December 30, 1996, Enger entered into a group purchasing agreement
with PharmaCare Dynamic Management Corporation (PDM). The agreement provides:
              The member agrees that all pharmaceuticals and related
              products, medical/surgical, dietary, and laboratory products
              purchased pursuant to this Agreement shall be used in
              accordance with applicable federal, state and local laws and
              with such restrictions as imposed by the Vendors (additionally
              see Exhibit A for Managed Care Institutions).
See Exhibit 1.
       The heading of the attached Exhibit A reads “Managed Care Institution ‘Own Use’
Certification”, which states:
              Ovation Pharmacy Consultants, Inc. certifies that it is a
              “closed door” facility serving only its employees and/or
              patients. Any pharmaceuticals or other related products
              purchased by this institution though PDM’s negotiated special
              priced contracts from various manufacturers/vendors are for
              the institutions’ own use in the care of its employees and/or
              patients only, and not for resale to “walk-in” patients. Usage
              shall comply in full with and as defined in the Abbott
              Laboratories et al. vs. Portland Retail Druggist
              Association, Inc., 425 U.S. 1 (1976).
Id. p. 3 (the document also defines managed care institution by listing five types of
facilities). The PDM Member Data Sheet for Ovation Pharmacy lists “Long term care 150
beds” as its class of trade. Id. p. 4 (although an option, “retail pharmacy” is not marked).
       Similarly, in a contract eligibility questionnaire and certification form for Knoll
Pharmaceutical Company (Knoll), Ovation Pharmacy certified it was a “Nursing Home
Provider (Closed Door/No Retail)” with 150 beds and had a ten percent Medicaid client
base. See Exhibit 2 (The questionnaire provided questions to clarify where the applicant
was a combination retail and closed door facility, about which Ovation Pharmacy stated
the questions were not applicable.). The certification from Ovation Pharmacy and required
by Knoll states:
              The following HSCA Member Facility certifies that it is
              operating either:
              (i)    as the exclusive provider of said products to customers
              of Facility;


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                (ii)    as a nonprofit institution, eligible for all purposes under
                the Non-Profit Institutions Act, 15 U.S.C. § 13c, for which
                purchases are made for Facility’s “own use”; or
                (iii)   as a for profit organization, for which purchases are
                made for Facility’s “own use” as defined in De Modena, et al
                v. Kaiser Foundation Health Plan, Inc. et al 743 F.2d 13888
                [sic] (9 Cir. 1984), applying the holding of the U.S. Supreme
                Court in Abbott Laboratories, et al v. Portland Retail Druggist
                Association, Inc., 425 U.S. 1 (1976).
See Exhibit 2, p. 9 (signed in August 1997). Similar exclusive use certifications were
signed on behalf of the defendants’ pharmacies for pharmaceutical manufacturers and/or
buying groups. See Exhibit Nos. 9-18.
       The De Modena court defined “own use” based on the definition used in Abbott
Labs. De Modena v. Kaiser Found. Health Plan, Inc., 743 F.2d 1388, 1393 (9th Cir.
1984) (citing Abbott Labs. v. Portland Retail Druggists Ass’n, 425 U.S. 1, 11 (1976)).
Abbott Labs. created a test to determine whether certain drugs sales were for the buyer’s
own use. Under this test, “‘their own use’ is what reasonably may be regarded as use by
the hospital in the sense that such use is a part of and promotes the hospital’s intended
institutional operation in the care of persons who are its patients.” Abbott Labs., 425 U.S.
at 14. However, the De Modena court went on to examine which drug sales of the buyer
were consistent with the basic institutional function of the buyer and required separation
of those sales to “members” from the sales to “nonmembers.” De Modena, 743 F.2d at
1393. As the defendants note, the relevant party in Abbott Labs was a non-profit
organization.    So too are the relevant parties in De Modena.             However, the Knoll
certification explicitly applies the Abbott Labs./De Modena definition of “own use” to for-
profit organizations. Similarly, the same reference to the Abbott Labs. definition used in
the Purchase Connection may be applied to for-profit organizations.
       Accordingly, since the contract terms are not ambiguous, the defendants’ contention
that the superceding indictment should be dismissed because the mail and wire fraud
counts are impermissibly based on the breach of ambiguous contract terms must fail. In
the alternative, the government does not rely solely on the Purchase Connection
agreement, but on “own use” certifications made by the defendants in other documents


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and other evidence to show materiality and intent. Therefore, the defendants’ related
arguments must also fail.
       Finally, although pharmaceutical sellers often grant discounts to institutional
customers without regard to whether they are non-profit or for-profit purchasers, United
States v. Costanzo, 4 F.3d 658 (8th Cir. 1993), whether the purchaser makes purchases
for its own-use may be relevant to price determinations without regard to either the
Robinson-Patman Act or the Non-Profit Institutions Act. United States v. Ferro, 252 F.3d
964, 967 (8th Cir. 2001). “This further suggests that, even when dealing with a for-profit
institutional customer, a seller may wish to know, for Robinson-Patman Act compliance
purposes, whether the customer is purchasing for its ‘own use.’ In these circumstances,
the materiality of an ‘own use’ misrepresentation may not be determined as a matter of
law.” Id. at 967-68 (“materiality is an issue for the jury . . . so long as the indictment
contains a facially sufficient allegation of materiality”). For these reasons, the undersigned
magistrate judge will recommend the defendants’ motion to dismiss be denied.


B.     Motion to Strike
       In the motion to strike, the defendants seek to strike the “further factual findings”
contained in the Superseding Indictment. Specifically, the defendants seek to strike the
following language:
       1.     (a) The defendants, DONALD H. ASAY and TERRI J. SAMOWITZ, were
              organizers or leaders of the criminal activity that involved five or more
              participants or was otherwise extensive.
              (b) The defendants, GREGORY W. ENGER and DONALD A. HEIDEN were
              managers or supervisors (but not organizers or leaders) in a criminal activity
              [that] involved five or more participants or was otherwise extensive.
       Or in the alternative to either or both of the subparagraph (a) and/or (b) above;
              (c) the defendants, DONALD H. ASAY, TERRI J. SAMOWITZ, GREGORY
              W. ENGER, and DONALD A. HEIDEN were organizers, leaders, managers,
              or supervisors in a criminal activity other than as described in (a) or (b)
              above.
       2.     The total approximate proceeds received by defendants, DONALD H. ASAY,
              TERRI J. SAMOWITZ, DONALD A. HEIDEN, and GREGORY W. ENGER,
              from the activities alleged in this Superseding Indictment are an amount
              between $2,500,000.00 and $5,000,000.00.


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See Filing No. 240, p. 19.
       The defendants also seek to strike the following language:
       10.    . . . DONALD H. ASAY, his daughter TERRI J. SAMOWITZ, as well as
              DONALD A. HEIDEN and GREGORY W. ENGER, were previously involved
              in or were all associates with another party involved in obtaining
              pharmaceutical products by false representations.
Id. p. 3 (added to motion during hearing at TR. 248-250).
       The defendants challenge the indictment, contending that inclusion of the “Further
Factual Findings” allegations in the indictment is improper because the allegations do not
constitute criminal conduct defined by Congress. The defendants argue the further factual
finding and the last sentence in paragraph 10 are surplusage that do not constitute
criminal offenses. The defendants further assert inclusion of the additional allegation is
highly prejudicial. The court finds no defect in the indictment and recommends that the
motion to strike be denied.


       IT IS RECOMMENDED TO CHIEF JUDGE JOSEPH F. BATAILLON that:
       1.     The defendants’ motion to dismiss (Filing No. 255) be denied.
       2.     The defendants’ motion to strike (Filing No. 261) be denied.


                                      ADMONITION
       Pursuant to NECrimR 57.3 any objection to this Report and Recommendation shall
be filed with the Clerk of the Court within ten (10) days after being served with a copy of
this Report and Recommendation. Failure to timely object may constitute a waiver of any
objection. The brief in support of any objection shall be filed at the time of filing such
objection.   Failure to file a brief in support of any objection may be deemed an
abandonment of the objection.
       DATED this 21st day of June, 2005.
                                                 BY THE COURT:


                                                 s/ Thomas D. Thalken
                                                 United States Magistrate Judge


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